Case 2:22-cv-12951-JJCG-JJCG ECF No. 96, PageID.1669 Filed 09/10/23 Page 1 of 3




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


  JILL BABCOCK, et al.,                        Case No.: 2:22-cv-12951

        Plaintiffs,                            JUDGE JONATHAN J.C. GREY

  v.

  STATE OF MICHIGAN, et al.,

        Defendants.

                  PLAINTIFFS’ EX PARTE MOTION TO
           EXCEED PAGE LIMIT FOR PLAINTIFFS’ BRIEFS
 [ECF No. 92] and [ECF No. 95] IN RESPONSE TO MOTIONS TO DISMISS
               BY STATE OF MICHIGAN [ECF No. 82] AND
   BY DETROIT WAYNE JOINT BUILDING AUTHORITY [ECF No. 80]

       Plaintiffs Jill Babcock, Marguerite Maddox, and Ashley Jacobson, through

 undersigned counsel, respectfully request this Court grant leave to Plaintiffs to

 exceed the L.R. 7.1(d)(3) 25-page limit for Plaintiffs’ briefs as follows:

                 a. Our Opposition Brief ECF No. 92 exceeds the limit by 7 pages

                      as to State’s Motion and Brief, ECF No. 82.

                 b. Our opposition Brief ECF No. 95 exceeds the limit by 3 pages as

                      to DWJBA’s Motion and Brief, ECF No. 80.

       This case is factually and legally complicated, and to accurately document the

 factual allegations and to effectively argue applicable law, Plaintiffs’ counsel were

 required to exceed the 25-page limit on the above two briefs.
                                               1
Case 2:22-cv-12951-JJCG-JJCG ECF No. 96, PageID.1670 Filed 09/10/23 Page 2 of 3




       By cross-referencing responses to Defendants’ duplicate arguments in all four

 motions, Plaintiffs’ counsel used 16 pages each in opposition briefs ECF No. 93 and

 ECF No. 94 responding to City ECF No. 87 and County ECF No 88.

       Accordingly, Plaintiffs request this Court extend the page limit in ECF No. 92

 to 32 pages and in ECF No. 95 to 28 pages.

                                       Respectfully Submitted,

 Dated: September 10, 2023              /s/ Michael W. Bartnik
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                                              2
Case 2:22-cv-12951-JJCG-JJCG ECF No. 96, PageID.1671 Filed 09/10/23 Page 3 of 3




                           CERTIFICATE OF SERVICE

       I, Michael W. Bartnik, counsel for Plaintiffs, certify that on September 10,

 2023, I filed this document by use of this Court’s ECF system, which will serve

 copies to all counsel of record.

       September 10, 2023

                                          /s/ Michael W. Bartnik
                                          Michael W. Bartnik


                            LOCAL RULE CERTIFICATION

       I, Michael W. Bartnik, certify that this document complies with Local Rule

 5.1(a), including: double-spaced (except for quoted materials and footnotes); at least

 one-inch margins on the top, sides, and bottom; consecutive page numbering; and

 type size of all text and footnotes that is no smaller than 10-1/2 characters per inch

 (for non-proportional fonts) or 14 point (for proportional fonts). I also certify that it

 is the appropriate length. Local Rule 7.1(d)(3).

       September 10, 2023

                                          /s/ Michael W. Bartnik
                                          Michael W. Bartnik




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